 Case 5:13-cr-50008-TLB Document 52       Filed 03/27/14 Page 1 of 2 PageID #: 332




                    IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                            FAYETTEVILLE DIVISION


CRIMINAL NO.: 5:13-cr-50008-2                 USA v. GREG GONZALEZ

COURT PERSONNEL:                              APPEARANCES:

Judge: TIMOTHY L. BROOKS                      Govt.: CLAY FOWLKES

Clerk: GAIL GARNER                            Deft.: JACK SCHISLER

Reporter: DANA HAYDEN


                          SENTENCING MINUTE SHEET


      On this date the above named defendant appeared in person and with counsel for
sentencing and is sworn.

      (X)   Inquiry made that defendant is not under influence of alcohol or drugs and
            is able to comprehend proceedings.

      (X)   Inquiry made whether defendant is under the care of a physician or taking
            any medication and is able to comprehend proceedings.

      (X)   Inquiry made that defendant is satisfied with counsel.

      (X)   Court determined that defendant and counsel have had opportunity to read
            and discuss presentence investigation report.

      (X)   Presentence investigation report reviewed in open court.

      (X)   Court expresses final approval of plea agreement.

      (X)   Government moves for downward departure pursuant to 5K1.1 - granted by
            court and 2-level departure awarded.

      (X)   Counsel for defendant afforded opportunity to speak on behalf of defendant.

      (X)   Defendant afforded opportunity to make statement and present information
            in mitigation of sentence.

      (X)   Attorney for government afforded opportunity to make statement to court.
 Case 5:13-cr-50008-TLB Document 52        Filed 03/27/14 Page 2 of 2 PageID #: 333




Criminal No.: 5:13-cr-50008-2


      (X)    Court proceeded to impose sentence as follows:

             30 months imprisonment; 3 years supervised release; $7,500.00 fine
             imposed - interest waived.

      (X)    Defendant ordered to comply with standard conditions of supervised release.

      (X)    Defendant ordered to comply with the following special conditions of
             supervised release:

             1.    The Defendant shall submit to inpatient or outpatient substance
                   abuse testing, evaluation, counseling, and/or treatment, as deemed
                   necessary and directed by the U.S. Probation Office.

             2.    The Defendant shall submit his person, residence, place of
                   employment, and vehicle to a search conducted by the U.S. Probation
                   Office at a reasonable time and in a reasonable manner based on a
                   reasonable suspicion of evidence of any violation of conditions of
                   supervised release.

      (X)    Defendant ordered to pay total special assessment of $100.00, which shall
             be due immediately.

      (X)    Forfeiture allegation dismissed on motion by the government.

      (X)    Defendant advised of right to appeal sentence imposed.

      (X)    Defendant advised of right to apply for leave to appeal in forma pauperis.

      (X)    Defendant remanded to custody of USMS.


DATE: March 27, 2014                                  Proceeding began: 9:09 am

                                                                  ended: 10:34 am
